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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES—GENERAL

  Case No. CV 20-10051-MWF (PVCx)            Date: July 2, 2021
  Title:   James Shayler v. MMWH Group LLC et al.
  Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

            Deputy Clerk:                            Court Reporter:
            Rita Sanchez                             Not Reported

            Attorneys Present for Plaintiff:         Attorneys Present for Defendant:
            None Present                             None Present

  Proceedings (In Chambers):             ORDER GRANTING MOTION TO DISMISS
                                         SECOND AMENDED COMPLAINT [49]

         Before the Court is Defendants MMWH Group LLC and Wasim Hamad’s
  Motion to Dismiss for Failure to State a Claim and Lack of Jurisdiction (the “Motion”),
  filed on April 29, 2021. (Docket No. 49). On May 17, 2021, Plaintiff James Shayler
  filed an Opposition. (Docket No. 50). On May 24, 2021, Defendants filed a
  reply. (Docket No. 51).

        The Motion was noticed to be heard on June 7, 2021. The Court read and
  considered the papers on the Motion and deemed the matter appropriate for decision
  without oral argument. See Fed. R. Civ. P. 78(b); Local Rule 7-15. The hearing was
  therefore VACATED and removed from the Court’s calendar. Vacating the hearing
  was also consistent with General Order 21-07, arising from the COVID-19 pandemic.

         For the reasons set forth below, the Motion is GRANTED with leave to
  amend. Plaintiff contends that Defendants’ property (the “Property”) contains several
  barriers in violation of the 2010 Americans with Disabilities Act Standards for
  Accessible Design (the “2010 Standards”), but Plaintiff fails to allege facts plausibly
  demonstrating that the 2010 Standards apply to the Property.

         On amendment, Plaintiff must allege facts showing that the 2010 Standards
  apply to the Property, or in the alternative, that the Property contains barriers in
  violation of the applicable 1991 ADA Standards. Plaintiff is warned that he will only


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  have one further opportunity to strengthen his allegations. Any future successful
  motion to dismiss shall be granted without leave to amend.

  I.    BACKGROUND

         Plaintiff commenced this action on November 2, 2020. (Complaint (Docket No.
  1)). On February 26, 2021, Plaintiff filed his First Amended Complaint (“FAC”).
  (Docket No. 30). Plaintiff then filed a Second Amended Complaint (“SAC”) on April
  5, 2021. (Docket No. 36). The SAC contains the following allegations, which the
  Court accepts as true, construing any inferences arising from those facts in the light
  most favorable to Plaintiff. See Schueneman v. Arena Pharm., Inc., 840 F.3d 698, 704
  (9th Cir. 2016) (restating generally-accepted principle that “[o]rdinarily, when we
  review a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), we accept
  a plaintiff’s allegations as true ‘and construe them in the light most favorable’ to the
  plaintiff”) (quoting Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 989 (9th
  Cir. 2009)).

         Plaintiff is a California resident with disabilities. (SAC ¶ 1). He has had two
  knee surgeries, which cause him severe pain and weak legs. (Id.). Plaintiff also suffers
  from several other physical conditions including a pinched sciatic nerve, neuropathy on
  the bottom of his feet, spinal arthritis, spinal stenosis, spondylosis, herniated disk, and
  an injury to his right arm. (Id.). Because of these conditions, Plaintiff has difficulty
  walking and standing and requires the use of a cane or walker for mobility. (Id.).

        Defendants own the property located at 600 N. Poplar Ave., Montebello, CA
  90640 (“the Property”). (Id. ¶¶ 2, 6). Plaintiff visited the Property on December 16,
  2019, August 17, 2020, and September 14, 2020, to patronize the business located on
  the Property. (Id. ¶ 12). Plaintiff used his cane during each of his visits. (Id.).

        On all three visits to the Property, Plaintiff experienced barriers related to
  parking, signage, entryways, and paths of travel. (Id. ¶ 18). The barriers he
  encountered included the Property’s failure to (a) maintain a level surface throughout
  the accessible route of travel, (b) adhere to the length and width requirements for the
  designated parking space and access aisle, and (c) secure the front entrance mat, among
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  several others. (Id. ¶ 20). These barriers interfered with and denied Plaintiff the ability
  to use and enjoy the goods, services, privileges, and/or accommodations offered at the
  Property. (Id. ¶ 15).

         The Property is located within a quarter mile of Beverly Hospital Center for
  Advanced Wound Healing, where Plaintiff has received treatment. (Id. ¶ 13). Plaintiff
  has purchased items such as chips and soda from the Property after his visits to the
  hospital. (Id.). Plaintiff intends to visit the Property soon because of its proximity to
  Beverly Hospital, but is currently deterred because of his knowledge of the barriers
  that continue to exist at the Property. (Id. ¶ 26).

        Based on these allegations, Plaintiff brings claims for violations of the ADA.
  (See generally SAC).

  II.   LEGAL STANDARD

        In ruling on the Motion under Rule 12(b)(6), the Court follows Bell Atlantic v.
  Twombly, 550 U.S. 544 (2007), Ashcroft v. Iqbal, 556 U.S. 662 (2009), and their Ninth
  Circuit progeny.

         “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks a
  cognizable legal theory or (2) fails to allege sufficient facts to support a cognizable
  legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013). “To survive a
  motion to dismiss, a complaint must contain sufficient factual matter . . . to ‘state a
  claim for relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting
  Twombly, 550 U.S. at 570). The Court must disregard allegations that are legal
  conclusions, even when disguised as facts. See id. at 681 (“It is the conclusory nature
  of respondent’s allegations, rather than their extravagantly fanciful nature, that
  disentitles them to the presumption of truth.”); Eclectic Props. E., LLC v. Marcus &
  Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014). “Although ‘a well-pleaded
  complaint may proceed even if it strikes a savvy judge that actual proof is improbable,’
  plaintiffs must include sufficient ‘factual enhancement’ to cross ‘the line between
  possibility and plausibility.’” Eclectic Props., 751 F.3d at 995 (quoting Twombly, 550
  U.S. at 556-57) (internal citations omitted).
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         The Court must then determine whether, based on the allegations that remain
  and all reasonable inferences that may be drawn therefrom, the complaint alleges a
  plausible claim for relief. See Iqbal, 556 U.S. at 679; Cafasso, U.S. ex rel. v. Gen.
  Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011). “Determining whether a
  complaint states a plausible claim for relief is ‘a context-specific task that requires the
  reviewing court to draw on its judicial experience and common sense.’” Ebner v.
  Fresh, Inc., 838 F.3d 958, 963 (9th Cir. 2016) (quoting Iqbal, 556 U.S. at 679).

  III.   DISCUSSION

         A.    Standing

         “[A]s with other civil rights statutes, to invoke the jurisdiction of the federal
  courts, a disabled individual claiming discrimination must satisfy the case or
  controversy requirement of Article III by demonstrating his standing to sue at each
  stage of the litigation.” Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 946 (9th
  Cir. 2011) (en banc) (citations omitted).

         To have standing to pursue an ADA claim for injunctive relief, a plaintiff must
  establish an injury-in-fact. See Whitaker v. Tesla Motors, Inc., 985 F.3d 1173, 1179
  (9th Cir. 2021) (citing Chapman, 631 F.3d at 954). To allege an injury-in-fact
  sufficient to confer standing, a plaintiff must demonstrate that “his injury was concrete
  and particularized, and actual or imminent rather than conjectural or hypothetical.”
  Whitaker v. Panama Joes Invs. LLC, 840 F. App’x 961, 963 (9th Cir. 2021) (citing
  D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031, 1036 (9th Cir. 2008)).

         “Allegations that a plaintiff suffered discrimination because he confronted at
  least one specific barrier relating to his disability satisfy the requirement to show a
  concrete and particularized injury for standing to pursue an ADA claim.” Id. (citing
  Chapman, 631 F.3d at 954). Additionally, “[a]n allegation that the plaintiff is currently
  deterred from visiting a facility because he is aware of discriminatory conditions there
  suffices to demonstrate an imminent injury[.]” Id. at 963-64 (citing Civil Rights Educ.
  And Enf’t Ctr. v. Hospitality Props. Tr. (“CREEC”), 867 F.3d 1093, 1101 (9th Cir.
  2017)). “But, to be deterred from making use of the defendant’s facility, one must
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  have a true desire to return to the facility but for the barriers.” Rutherford v. JC
  Resorts, LLC, No. 19-CV-00665-BEN-NLS, 2020 WL 4227558, at *5 (S.D. Cal. July
  23, 2020) (emphasis added) (citing D’Lil, 538 F.3d at 1037-38); see also Gastelum v.
  Canyon Hospitality LLC, No. 17-CV-2792-PHX-GMS, 2018 WL 2388047, at *6 (D.
  Ariz. May 25, 2018) (“the Ninth Circuit did not relax the requirement that the plaintiff
  demonstrate real and immediate threat of repeated injury by showing a legitimate
  intent to visit again the public accommodation in question”).

         Defendants argue that Plaintiff provides only “bare allegations” that are
  insufficient to establish a particularized injury required for standing. (Motion at 14).
  The Court disagrees.

          The Ninth Circuit recently explained in Whitaker v. Tesla Motors, Inc. (“Tesla”)
  how an ADA plaintiff’s burden differs under Rule 12(b)(1) and Rule 12(b)(6). 985
  F.3d 1173. The Tesla Court explained that allegations are sufficient to establish injury-
  in-fact for standing purposes where an ADA plaintiff alleges that he (1) has a
  disability, (2) visited the defendant’s premises, (3) personally encountered a barrier
  related to his disability, and (4) is presently deterred from returning because of the
  barrier. Id. at 1179 (citing Chapman, 631 F.3d at 954). Importantly, however, the
  Ninth Circuit distinguished its “broad view of constitutional standing in civil rights
  cases” from the federal pleading requirements, explaining that it has “never held that
  civil rights litigants are exempt from satisfying the pleading standard demanded by
  Iqbal and Twombly. To the contrary, we expressly recognized in Starr that it is not
  sufficient for a pleading to ‘simply recite the elements of a cause of action.’” Id. at
  1177 (citing Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (emphasis in original).

         Plaintiff has established injury-in-fact for standing purposes because he has
  alleged that he (1) has a disability, (2) visited Defendants’ premises, (3) personally
  encountered barriers related to his disability at the premises, and (4) is presently
  deterred from returning to the Business because of the barriers. (See generally SAC).
  Accordingly, to the extent that Defendants’ standing argument challenges Plaintiff’s
  factually bare allegations, such arguments are properly addressed under the Twombly


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  and Iqbal pleading requirements rather than the constitutional standing doctrine. See
  Tesla, 985 F.3d at 1177-79.

        Defendants also assert that Shayler lacks standing to bring violations of several
  ADA regulations that are designed to benefit only wheelchair users, not people who
  walk with the assistance of a cane, like Plaintiff. (Motion at 16) (citing O'Campo v.
  Bed Bath & Beyond of Cal., LLC, 610 F. App’x 706 (9th Cir. 2015)). In particular,
  Defendants claim that Shayler lacks standing to challenge (1) the Business’s uneven
  surface from the parking stall to the entrance, (2) the length and width of the accessible
  parking space, (3) the access aisle’s cross-slopes, and (4) the unsecured floor mat.
  (Motion at 15-20).

         Defendants’ reliance on O’Campo is misplaced. In O’Campo, the plaintiff —
  who used a cane for mobility — alleged that he had encountered a barrier consisting of
  incomplete insulation of pipes under the lavatory sink. 610 F. App’x at 708. The
  Ninth Circuit affirmed the dismissal of the ADA claims on standing grounds,
  explaining that “[a]n ADA plaintiff has suffered an injury-in-fact when he encounters
  ‘a barrier that deprives him of full and equal enjoyment of the facility due to his
  particular disability.’” Id. (quoting Chapman, 631 F.3d at 944) (emphasis in original).
  Because “the legs of a standing person would not be underneath the lavatory while that
  person washed his hands[,]” the Ninth Circuit determined that the lavatory sink barrier
  would not reasonably interfere with the plaintiff’s full and equal access of the
  premises, since the plaintiff used a cane, rather than a wheelchair, for mobility. Id.

         Unlike the lavatory sink barrier in O’Campo, which did not interfere with the
  rights of people suffering from the plaintiff’s particular disability, the barriers that
  Plaintiff alleges do plausibly interfere with a cane user’s full and equal access to the
  Business. For example, Plaintiff alleges that on “the ground/route between the
  designated disabled parking space and the business entrance, there is cracked and
  broken asphalt that creates verticals over 1/2 inch.” (SAC at 8). Plaintiff alleges that
  “excess changes in level pose risks to Plaintiff, including that he may trip and/or fall,
  and/or that his cane or walker may become trapped in an uneven surface.” (Id.). In
  addition, it is plausible that the other alleged barriers (e.g., insufficient accessible

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  parking space length and width) would make it more difficult for a person walking
  with a cane to enter and exit a parking space, and navigate into and out of the Business
  safely. Because the Business’s alleged barriers may plausibly interfere with Plaintiff’s
  full and equal access to the Business while using his cane, he does not lack standing.

         Defendants also claim that because Plaintiff fails to indicate the proximity of the
  Property to his residence, he has failed to allege a likelihood of future injury. (Motion
  at 21). This argument is unavailing.

         Doran v. 7-Eleven, Inc. is instructive. 524 F.3d 1034 (9th Cir. 2008). There, the
  Ninth Circuit determined that the plaintiff suffered a “concrete, particularized, actual
  and imminent” injury sufficient for standing, where the plaintiff alleged that he (1)
  personally suffered discrimination as a result of the barriers at the business, (2) had
  previously visited the location, (3) was deterred from visiting due to ADA violations,
  and (4) had future, concrete plans to visit the business. Id. at 1040-41. The plaintiff’s
  future plans to visit the business during his annual trip to Disneyland were sufficient to
  establish standing, despite the fact that the business and Disneyland were over 500
  miles from his residence. Id. at 1039-40.

          Plaintiff alleges that he is deterred from returning to the Property because of his
  knowledge of alleged barriers. (SAC ¶¶ 20, 26). Plaintiff also articulates specific
  future plans to return to the Property to purchase “snacks and/or other items” because
  of its close proximity to Beverly Hospital, a place that Plaintiff visits for medical
  appointments. (Id. ¶ 48). Because Plaintiff has alleged specific plans and reasons
  establishing why he would visit the Property in the future, Plaintiff has demonstrated a
  real and immediate threat of repeated injury. The fact that Plaintiff does not indicate
  the proximity of his residence to the Property does not prevent him from establishing
  standing. See Doran, 524 F.3d at 1040.

        Accordingly, the Motion with respect to standing is DENIED.

        B.     Sufficiency of the Allegations

               1.     Defendants’ photographs of the alleged barriers
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         Rather than accept the factual allegations in the SAC as true, Defendants attempt
  to challenge the merits of Plaintiff’s claims by submitting and referencing photographs
  of the Property’s alleged barriers. (See Declaration of Wasim Hamad, Exs. A-O
  (Docket Nos. 46-5 through 46-19)). Defendants advance no argument as to why it
  would be proper for the Court to consider the photographs in ruling on the Motion.
  (See generally Motion).

         As a general rule, “a district court may not consider any material beyond the
  pleadings in ruling on a Rule 12(b)(6) motion.” Lee v. City of Los Angeles, 250 F.3d
  668, 688 (9th Cir. 2001). “There are two exceptions to this rule: the incorporation-by-
  reference doctrine, and judicial notice under Federal Rule of Evidence 201.” Khoja v.
  Orexigen Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018), cert. denied sub nom.
  Hagan v. Khoja, 139 S. Ct. 2615 (2019). Under Federal Rule of Evidence 201, a court
  may not take judicial notice of facts that are “subject to reasonable dispute.” Fed. R.
  Evid. 201(b). “A fact is ‘not subject to reasonable dispute’ if it is ‘generally known,’
  or ‘can be accurately and readily determined from sources whose accuracy cannot
  reasonably be questioned.’” Khoja, 899 F.3d at 999 (quoting Fed. R. Evid. 201(b)(1)-
  (2)).

        Because Defendants have made no showing that consideration of the
  photographs is proper in ruling on the Motion, the Court declines to address
  Defendants’ arguments in so far as they reference the photographs’ contents.

              2.     Applicability of the 2010 Standards

        To plead an ADA claim, the plaintiff must allege that: (1) he or she is disabled
  within the meaning of the ADA; (2) the defendant is a private entity that owns, leases,
  or operates a place of public accommodation; and (3) he or she was denied public
  accommodation by the defendant because of his or her disability. Moeller v. Taco Bell
  Corp., 816 F. Supp. 2d 831, 847 (N.D. Cal. 2011) (citing Arizona ex rel. Goddard v.
  Harkins Amusement Enters., Inc., 603 F.3d 666, 670 (9th Cir. 2010)).

        “The third element — whether plaintiffs were denied public accommodations on
  the basis of disability — is met if there was a violation of applicable accessibility
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  standards.” Id. “Those standards are set forth by the ADA Accessibility Guidelines
  (‘ADAAG’), which ‘provide [ ] the objective contours of the standard that architectural
  features must not impede disabled individuals’ full and equal enjoyment of
  accommodations.’” Johnson v. Wayside Prop., Inc., 41 F. Supp. 3d 973, 976 (E.D.
  Cal. 2014) (quoting Chapman, 631 F.3d at 945).

        There are two versions of the ADAAG: the 1991 Standards and the 2010
  Standards. Johnson, 41 F. Supp. 3d at 976 (E.D. Cal. 2014) (“The [DOJ] promulgated
  the ADAAG in 1991 and revised it in 2010.”). “All architectural and structural
  elements in a facility are required to comply with the 1991 Standards to the extent that
  compliance is readily achievable; by contrast, the 2010 [S]tandards apply only to
  elements that have been altered in existing facilities, or that fail to comply with the
  1991 Standards, on or after March 15, 2012.” Id. (internal citation omitted). In sum,
  only buildings constructed or altered on or after March 15, 2012, must comply with the
  2010 Standards. ADAAG § 35.151(c)(3).

        The SAC alleges several violations of the 2010 Standards. (See, e.g., SAC at 9-
  10 (ADAAG § 502.2 (length and width of parking space)), 13-14 (ADAAG § 402.3.3
  (ground surface sign), 17-18 (ADAAG § 502.3.3 (hatch lines at the access aisle)).
  However, the SAC lacks sufficient facts establishing that the Property was required to
  comply with the 2010 Standards, as opposed to the 1991 Standards.

         Plaintiff alleges that “[t]he Property has been newly constructed and/or
  underwent remodeling, repairs, or alterations after January 26, 1992.” (SAC ¶ 4).
  Without more specific information about the date that the Property was constructed or
  altered, the Court cannot determine which version of the ADAAG applies to the
  Property. At a minimum, because the SAC does not allege that the Property was
  constructed or altered on or after March 15, 2012, Plaintiff fails to plausibly show that
  the Property is governed by the 2010 Standards.

         The Court will grant Plaintiff an opportunity to amend the SAC to remedy this
  problem. On amendment, Plaintiff must either (1) rely solely upon the 1991 Standards,
  or (2) allege facts showing that the 2010 Standards apply to the Property.

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               3.     California Building Code violations

         The SAC alleges that the Property’s parking lot violates the California Building
   Code, which in turn violates the ADA. (SAC ¶¶ 15-16). In particular, Plaintiff alleges
   that Defendants violated the ADA because the tow-away sign in the handicap parking
   space was missing, in violation of California Building Code sections 11B-502.8, 11B-
   502.8.2. (Id.).

          The Court joins numerous district courts in holding that a violation of the
   California Building code “is insufficient to state a violation of the ADA.” Cho v.
   Monroy, CV 19-10416-FMO (RAOx), 2020 WL 7869526, at *2 (C.D. Cal. Nov. 2,
   2020) (denying default judgment for ADA claim where plaintiff alleged violations of
   the California Building Code); see also Vogel v. Kafco P’ship, CV 19-656-R (MRWx),
   2019 WL 8108714, at *3 (C.D. Cal. Sept. 25, 2019) (denying summary judgment for
   plaintiff on ADA claim for violation of California Building Code); see also Garibay v.
   Rodriguez, CV 18-9187-PAA (FMx), 2019 WL 8060795, at *3 (C.D. Cal. Dec. 19,
   2019) (same); Johnson v. Kohanbash Century Plaza, Ltd. Liab. Co., 2019 U.S. Dist.
   LEXIS 131881, at *12-13 (E.D. Cal. Aug. 6, 2019) (same); Shaw v. Kelley, No. 16-
   CV-03768-VKD, 2019 WL 497620, at *4 (N.D. Cal. Feb. 7, 2019) (same); Johnson v.
   42816 Mission Blvd LLC, No. 17-CV-03040-CRB, 2018 WL 3008677, at *2 (N.D.
   Cal. June 15, 2018) (same).

          Because violations of the California Building Code do not constitute violations
   of the ADA, Plaintiff is warned that he may not rely upon the California Building Code
   in his amended complaint.

   IV.   CONCLUSION

        For the reasons stated above, the Motion is GRANTED with leave to
   amend. On amendment, Plaintiff must allege facts demonstrating that the Property
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   either (1) violates the 1991 Standards, or (2) is governed by the 2010 Standards
   because of the date that it was constructed or altered. In addition, Plaintiff may not
   rely upon violations of the California Building Code in alleging violations of the ADA.

         Plaintiff shall file his Third Amended Complaint (“TAC”) on or before July 15,
   2021. Failure to do so will result in dismissal of the action with prejudice. Defendants
   must respond to the TAC on or before July 29, 2021. Plaintiff is warned that he will
   only have one further opportunity to strengthen his allegations. Any future successful
   motion to dismiss shall be granted without leave to amend.

         IT IS SO ORDERED.




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